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 Attorneys for Plaintiff


                                UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF PENNSYLVANIA


 JEREMY ROBERSON,                                      Case No.:

                           Plaintiff,                  COMPLAINT FOR:

                 vs.                                   (1) Violation of § 14(a) of the Securities
                                                       Exchange Act of 1934
 STRONGBRIDGE BIOPHARMA PLC, JOHN                      (2) Violation of § 20(a) of the Securities
 H. JOHNSON, DAVID GILL, GARHENG                       Exchange Act of 1934
 KONG, JEFFREY W. SHERMAN, MARTEN
 STEEN, HILDE H. STEINEGER,

                           Defendants.
                                                       DEMAND FOR JURY TRIAL



       Plaintiff, Jeremy Roberson (“Plaintiff”), by and through his attorneys, files this action against

the defendants, and alleges upon information and belief, except for those allegations that pertain to

him, which are alleged upon personal knowledge, as follows:

                                   SUMMARY OF THE ACTION

       1.      Plaintiff brings this stockholder action against Strongbridge Biopharma plc

(“Strongbridge” or the “Company”), the Company’s Board of Directors (the “Board” or the

“Individual Defendants”, collectively with the Company, the “Defendants”), Xeris Pharmaceuticals,

Inc. (“Parent”), through Wells MergerSub, Inc. (“Merger Sub” and together with Parent “Xeris,”), for

violations of Sections 14(a) and 20(a) of the Securities and Exchange Act of 1934 (the “Exchange
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Act”), relating to the Individual Defendants’ efforts to sell the Company to Xeris as a result of an

unfair process, and to enjoin an upcoming stockholder vote on an all stock proposed transaction valued

at approximately $267 million (the “Proposed Transaction”).

        2.      The terms of the Proposed Transaction were memorialized in a May 24, 2021 filing

with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the definitive

Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the Merger Agreement,

Strongbridge will become an indirect wholly-owned subsidiary of Parent, a subsidiary of the Xeris.

Strongbridge shareholders will receive 0. 7840 of a Xeris share for each Strongbridge common share

held.

        3.      Thereafter, on July 29, 2021, Strongbridge filed a Definitive Proxy Statement on

Schedule DEFM14A (the “Definitive Proxy Statement”) with the SEC in support of the Proposed

Transaction.

        4.      It appears as though the Board has entered into the Proposed Transaction to procure for

themselves and senior management of the Company significant and immediate benefits. For instance,

pursuant to the terms of the Merger Agreement, upon the consummation of the Proposed Transaction,

Company Board Members and executive officers will be able to exchange all Company equity awards

for the merger consideration.

        5.      In violation of the Exchange Act, Defendants caused to be filed the materially deficient

Definitive Proxy Statement on July 29, 2021 with the SEC in an effort to solicit Plaintiff to vote his

Strongbridge shares in favor of the Proposed Transaction. The Definitive Proxy Statement is

materially deficient, deprives Plaintiff of the information necessary to make an intelligent, informed

and rational decision of whether to vote in favor of the Proposed Transaction. As detailed below, the

Definitive Proxy Statement omits and/or misrepresents material information concerning, among other

things: (a) the sales process and in particular certain conflicts of interest for management; (b) the
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financial projections for Strongbridge and Xeris, provided by Strongbridge and Xeris to the

Company’s financial advisor MTS Health Partners, LP (“MTS”) and to Xeris’s financial advisor, SVB

Leerink LLC (“SVB Leerink”); and (c) the data and inputs underlying the financial valuation analyses,

if any, that purport to support the fairness opinions created by MTS, SVB Leerink, and provided to

the Board.

         6.       Accordingly, this action seeks to enjoin the Proposed Transaction.

         7.       Absent judicial intervention, the Proposed Transaction will be consummated, resulting

in irreparable injury to Plaintiff. This action seeks to enjoin the Proposed Transaction.

                                                PARTIES

         8.       Plaintiff is a citizen of North Carolina and, at all times relevant hereto, has been a

Strongbridge stockholder.

         9.       Defendant Strongbridge is a global commercial-stage biopharmaceutical company

focused on the development and commercialization of therapies for rare diseases with significant

unmet needs. Strongbridge is incorporated in Ireland and has its principal place of business at 900

Northbrook Drive, Suite, 200, Trevose, PA 19053. Shares of Strongbridge common stock are traded

on the Nasdaq Stock Exchange under the symbol “SBBP.”

         10.      Defendant John H. Johnson ("Johnson") has been a Director of the Company at all

relevant times. In addition, Johnson serves as the Chief Executive Officer (“CEO”) of the Company.

         11.      Defendant David Gill (“Gill") has been a director of the Company at all relevant

times.

         12.      Defendant Garheng Kong ("Kong") has been a director of the Company at all relevant

times. In addition, Kong serves as the Chairman of the Company Board.

         13.      Defendant Jeffrey W. Sherman (“Sherman”) has been a director of the Company at all

relevant times.
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         14.      Defendant Marten Steen (“Steen”) has been a director of the Company at all relevant

times.

         15.      Defendant Hilde H. Steineger (“Steineger”) has been a director of the Company at all

relevant times.

         16.      The defendants identified in paragraphs 9 through 15 are collectively referred to herein

as the “Director Defendants” or the “Individual Defendants.”

         17.      Non-Party Xeris is a pharmaceutical company delivering innovative solutions to

simplify the experience of administering important therapies that people rely on every day around the

world. Xeris is incorporated in Delaware and has its principal place of business in Chicago, IL. Shares

of Xeris common stock are traded on the Nasdaq Stock Exchange under the symbol “XERS.”

         18.      Non-Party Merger Sub is a party to the Merger Agreement and a wholly owned

subsidiary of Xeris created to effectuate the Proposed Transaction.

                                     JURISDICTION AND VENUE

         19.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges violations

of Sections 14(a) and Section 20(a) of the Exchange Act. This action is not a collusive one to confer

jurisdiction on a court of the United States, which it would not otherwise have.

         20.      Personal jurisdiction exists over each defendant either because the defendant conducts

business in or maintains operations in this District, or is an individual who is either present in this

District for jurisdictional purposes or has sufficient minimum contacts with this District as to render

the exercise of jurisdiction over defendant by this Court permissible under traditional notions of fair

play and substantial justice.




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        21.     Venue is proper in this District pursuant to 28 U.S.C. § 1391, because each of the

Individual Defendants, as Company officers or directors, has extensive contacts within this District;

for example, the Company is headquartered in this District.

                                  SUBSTANTIVE ALLEGATIONS

Company Background

        22.     Strongbridge, a commercial-stage biopharmaceutical company, focuses on the

development and commercialization of therapies for rare diseases with unmet needs in the United

States. The Company offers Keveyis, an oral carbonic anhydrase inhibitor to treat hyperkalemic,

hypokalemic, and related variants of primary periodic paralysis. Its clinical-stage product candidates

include Recorlev, a cortisol synthesis inhibitor, which is in Phase III clinical trials for the treatment of

endogenous Cushing's syndrome; and Veldoreotide, a somatostatin analog that has completed Phase

II clinical trial for the treatment of acromegaly. Strongbridge was founded in 1996 and is based in

Trevose, Pennsylvania.

        23.     The Company’s most recent financial performance press release before the

announcement of the Proposed Transaction indicated promising financial results. For example, in the

May 12, 2021 Press Release announcing its 2021 Q1 financial results, the Company highlighted net

product sales of $8.4 million for the first quarter ended March 31, 2021, representing a 25 percent

increase over first quarter 2020 revenue of $6.7 million, with reported sales momentum continuing in

April with KEVEYIS delivering the highest month of net product sales since its launch by the

Company in 2017.

        24.     Defendant CEO Johnson commented on the results in the Press Release, “‘We

delivered strong financial results in the first quarter with 25 percent quarter-over-quarter revenue

growth achieved with KEVEYIS® (dichlorphenamide) versus the first quarter last year, providing a

strong foundation as we enter the second quarter. Looking ahead, Strongbridge remains focused on
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driving continued revenue growth for KEVEYIS and leveraging our operational and commercial

expertise to further accelerate the growth of Strongbridge’s rare disease portfolio. Strongbridge is

currently awaiting notification from the U.S. Food and Drug Administration (FDA) regarding filing

of the Company’s New Drug Application (NDA) for RECORLEV® (levoketoconazole) for the

treatment of endogenous Cushing’s syndrome. We look forward to receiving the official Day 74 letter

shortly and sharing an update thereafter, as well as the potential opportunity to bring a new therapeutic

option to the Cushing's syndrome community.’”

The Flawed Sales Process

       25.     As detailed in the Definitive Proxy Statement, the process deployed by the Individual

Defendants was flawed and inadequate, was conducted out of the self-interest of the Individual

Defendants, and was designed with only one concern in mind – to effectuate a sale of the Company

by any means possible.

       26.     Notably, while the Definitive Proxy Statement indicates that the Strongbridge Board

created a committee of Independent Directors, the Definitive Proxy fails to indicate with sufficient

specificity the powers held by the special committee, including whether the committee had the power

to veto proposed strategic alternatives prior to review by the full Board.

       27.     The Registration Statement does not disclose adequate information as to why the Board
agreed to the merger consideration without the protections of a collar mechanism to keep the merger

consideration within a reasonable range.

       28.     Furthermore, the Registration Statement does not disclose adequate information as to

why the Board agreed to a large portion of the merger consideration in the form of a non-tradeable

CVR which has no guarantee of set value to Strongbridge stockholders.

       29.     In addition, the Registration Statement is silent as to the nature of the confidentiality

agreement entered into between the Company and Xeris, whether this agreement differed from any
other agreement with potentially interested third parties not specifically mentioned by the Registration

Statement, and if so in what way, and if the terms of any such agreements included “don’t-ask, don’t-

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waive” provisions or standstill provisions, and if so, the specific conditions, if any, under which such

provisions would fall away.
       30.     It is not surprising, given this background to the overall sales process, that it was

conducted in a completely inappropriate and misleading manner.

The Proposed Transaction

       31.     On May 24, 2021, Strongbridge and Xeris issued a joint press release announcing the

Proposed Transaction. The press release stated, in relevant part:

     CHICAGO, Il., DUBLIN, Ireland and TREVOSE, Pa., – May 24, 2021 – Xeris
     Pharmaceuticals, Inc. (“Xeris”) (Nasdaq: XERS), a pharmaceutical company leveraging
     its novel formulation technology platforms to develop and commercialize ready-to-use
     injectable drug formulations, and Strongbridge Biopharma plc (“Strongbridge”)
     (Nasdaq: SBBP), a global commercial-stage biopharmaceutical company focused on the
     development and commercialization of therapies for rare diseases with significant unmet
     needs, today announced that they have entered into a definitive agreement under which
     Xeris will acquire Strongbridge for stock and contingent value rights (“CVRs”). The
     agreement, including the maximum aggregate amount payable under the CVRs, values
     Strongbridge at approximately $267 million based on the closing price of Xeris common
     stock of $3.47 on May 21, 2021 and Strongbridge’s fully diluted share capital. The
     transaction, which has been unanimously approved by the boards of directors of both
     companies, with the exception of Jeffrey W. Sherman, M.D., a director in common to
     both companies, who abstained from the voting, is expected to close early in the fourth
     quarter of 2021, subject to the satisfaction of closing conditions. Upon close of the
     transaction, the businesses of Xeris and Strongbridge will be combined under a new
     entity to be called Xeris Biopharma Holdings, Inc. (“Xeris Biopharma Holdings”).

     Under the terms of the agreement at closing, Strongbridge shareholders will receive a
     fixed exchange ratio of 0.7840 shares of Xeris Biopharma Holdings common stock for
     each Strongbridge ordinary share they own. Based on the closing price of Xeris common
     stock on May 21, 2021, this represents approximately $2.72 per Strongbridge ordinary
     share and a 12.9% premium to the closing price of Strongbridge ordinary shares on May
     21, 2021. Strongbridge shareholders will also receive 1 non-tradeable CVR for each
     Strongbridge ordinary share they own, worth up to an additional $1.00 payable in cash
     or Xeris Biopharma Holdings common stock (at Xeris Biopharma Holdings’ election)
     upon achievement of the following triggering events: (i) the listing of at least one issued
     patent for KEVEYIS® in the U.S. Food & Drug Administration’s Orange Book by the
     end of 2023 or at least $40 million in KEVEYIS® annual net sales in 2023 ($0.25 per
     ordinary share), (ii) achievement of at least $40 million in RECORLEV® annual net
     sales in 2023 ($0.25 per ordinary share), and (iii) achievement of at least $80 million in
     RECORLEV® annual net sales in 2024 ($0.50 per ordinary share). The minimum
     payment on the CVR per Strongbridge ordinary share is zero and the maximum payment

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is $1.00 in cash or Xeris Biopharma Holdings common stock, at Xeris Biopharma
Holdings’ election.

Upon close of the transaction, current Xeris shareholders are expected to own
approximately 60% of the combined company, while current Strongbridge shareholders
are expected to own approximately 40%.

“This is a very compelling transaction that will create a scalable and diversified
biopharmaceutical company increasingly oriented toward more specialty and rare disease
products, positioning us for long-term product development and commercial success,”
said Paul R. Edick, Chairman and Chief Executive Officer of Xeris. “Strongbridge’s
attractive rare disease portfolio and capabilities are highly complementary with Xeris.
Building on the continuing prescription growth of Gvoke® with an enhanced and
diversified growth profile, expanded and scalable salesforce, and expected cost-
synergies, the combined company will be well positioned to deliver compelling long-
term value to shareholders. We look forward to welcoming the Strongbridge team to
Xeris and leveraging our differentiated portfolios and technologies to help the patients
we serve improve their quality of life.”

“We are excited to combine with Xeris to drive the next phase of our growth,” said John
H. Johnson, Chief Executive Officer of Strongbridge. “Strongbridge has made significant
progress advancing its portfolio of therapies for rare endocrine and rare neuromuscular
diseases with focus, commitment and passion for the patients and physicians that we
serve. This includes delivering strong revenue growth for KEVEYIS®
(dichlorphenamide), our first commercial, rare neuromuscular product, and the
successful development of RECORLEV® (levoketoconazole), which is under review for
approval by the FDA with expected commercialization in the first quarter of 2022
pending FDA approval. Through this combination with Xeris, we will gain additional
scale and financial resources to better meet the unmet needs of those we serve. Our
combined pipeline, drug development talent and commercial infrastructure will enable
us to accelerate product launches and drive further growth. We look forward to working
closely with the Xeris team to unlock the potential value of our combined assets, while
providing our shareholders with the opportunity to participate in the success of the
combined company.”

Strategic Rationale and Financial Benefits of the Transaction

The combination of Xeris and Strongbridge is expected to deliver compelling strategic
and financial benefits including:

-   Diversified and Increased Revenue Growth. The combined company is expected to
    have a stronger revenue base with two rapidly growing commercial assets in Gvoke®
    and KEVEYIS®, and a near-term product launch in RECORLEV®. Gvoke® sells in
    a multi-billion dollar addressable market, as will RECORLEV®, if approved. With
    approval of RECORLEV® by the FDA, Xeris’ experienced, endocrinology-focused
    commercial infrastructure is expected to enable a rapid product launch for
    RECORLEV® into the endocrinology community. With Gvoke®, KEVEYIS® and
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    RECORLEV®, the combined company will boast multiple, highly differentiated,
    growing, commercial assets that could have significant combined revenue potential,
    supported by a larger and more efficient commercial organization.

-   Significant Potential Synergies. The combined company is expected to generate
    approximately $50 million in pre-tax synergies by the end of 2022 resulting from
    immediate savings, including redundant general, administrative and other public
    company costs, and from the avoidance of future costs, most notably within the
    commercial and medical affairs functions. Shareholders of the combined company
    are expected to benefit from significant cost avoidance and the potential for more
    rapid and achievable near-term growth by utilizing Xeris’ existing commercial
    infrastructure to launch RECORLEV® soon after product approval. Xeris’
    management and the independent Xeris directors are committed to retaining and
    incentivizing the most talented individuals in their respective functions between the
    two companies to ensure continuity and ongoing success.

-   Specialized Commercial Platform. The combined company will have a robust rare
    disease and endocrinology-focused commercial infrastructure, primed to bring the
    benefits of the company’s products to a wider range of patients with unmet needs. At
    closing, the organization will have approximately 110 field sales representatives, as
    well as 50 inside sales and support employees, and a fully operational patient and
    provider support team, enabling a rapid potential product launch for RECORLEV®
    in the first quarter of 2022, as well as enhanced sales across the entire portfolio.

-   Expanded Development Pipeline. In addition to RECORLEV®, the combined
    company will have a robust pipeline of development programs to extend the current
    marketed products into important new indications and uses and bring new products
    forward using its formulation technology platforms, supporting long-term product
    development and commercial success.

-   Strengthened Strategic Profile. This transaction will enable the combined company
    to have a scalable infrastructure for continued development of specialist oriented and
    rare disease products from its proprietary XeriSol™ and XeriJect™ formulation
    technologies, as well as consolidation of commercial- and late development-stage
    products and companies focused on endocrinology and rare diseases.

-   Improved Access to Capital Markets. With enhanced scale, multiple revenue
    generating commercial assets and a high potential value near-term development
    pipeline, the combined company is expected to have a more attractive profile to
    investors and to benefit from greater access to the debt and equity markets at a lower
    cost of capital.

Additional Information

Upon close of the transaction, the businesses of Xeris and Strongbridge will be combined
under Xeris Biopharma Holdings, which will be incorporated in Delaware and will
continue to have its principal executive offices in Chicago, IL. On close, Xeris
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     shareholders will exchange each share of Xeris common stock they own for 1 share of
     Xeris Biopharma Holdings common stock.

     Xeris Chairman and CEO, Paul Edick, will act as Chairman and Chief Executive Officer
     of Xeris Biopharma Holdings. The Xeris Biopharma Holdings board will comprise the
     other existing Xeris directors, together with John Johnson and Garheng Kong, M.D.,
     PhD, MBA who will join the combined company’s board as new independent directors.
     A director in common to both companies, Jeffrey W. Sherman, M.D., will continue to
     serve on the Xeris Biopharma Holdings board following the transaction.

     Xeris Biopharma Holdings’ shares of common stock are expected to trade on the Nasdaq
     Global Select Market (Nasdaq) under the ticker XERS.

     The transaction is expected to close early in the fourth quarter of 2021, subject to
     customary closing conditions and approval by Xeris and Strongbridge shareholders.

     In addition, certain Strongbridge directors, executive officers, CAM Capital and
     HealthCap VI, L.P., representing approximately 17% of Strongbridge’s outstanding
     ordinary shares, have entered into irrevocable undertakings to vote in favor of the
     transaction.


Potential Conflicts of Interest

       32.     The breakdown of the benefits of the deal indicate that Strongbridge insiders are the

primary beneficiaries of the Proposed Transaction, not the Company’s public stockholders such as

Plaintiff. The Board and the Company’s executive officers are conflicted because they will have

secured unique benefits for themselves from the Proposed Transaction not available to Plaintiff as a

public stockholder of Strongbridge.

       33.     Notably, Company insiders, currently own large, illiquid portions of Company stock

that will be exchanged for the merger consideration upon the consummation of the Proposed

Transaction. However, while the Definitive Proxy Statement provides the following information, it

fails to disclose an accounting of how much merger consideration will be afforded to Company

insiders as a consequence of the consummation of the Proposed Transaction.


                Officer Name                      Number of Shares Beneficially Owned (#)
                John H. Johnson                                                   174,794
                Richard S. Kollender                                               28,608

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                    Fredric Cohen, M.D.                                                       30,956
                    Stephen Long                                                              23,600
                    Scott Wilhoit                                                             24,025

                    Non-Employee Director Name              Number of Shares Beneficially Owned (#)
                    Garheng Kong, M.D., PhD, MBA                                              41,756
                    David Gill                                                                55,821
                    Jeffrey W. Sherman, M.D.                                                  42,021
                    Mårten Steen, M.D.                                                       41,914 (1)
                    Hilde H. Steineger, M.D.                                                  42,021


        34.        Moreover, upon the consummation of the Proposed Transaction, the Definitive Proxy

Statement indicates that each outstanding Company stock options will be canceled and converted into

the right to receive certain consideration, not shared by Plaintiff, according to the merger agreement.

However, the Definitive Proxy fails to provide an accounting of such consideration, and instead

provides only the following:


                                                                                    Spread on
                                                              Number of             Unvested               Number of
                                              Number of         Shares            Strongbridge            Strongbridge
                                                Shares        Subject to           Options ($)               Options
                                              Subject to       Unvested            (Assuming               Eligible for
                                             Strongbridge    Strongbridge            Value of                 Term
                                              Options (#)     Options (#)        $2.61/Share) (1)         Extension (#)
    Executive Officers
    John H. Johnson                               495,724          237,500                227,063               402,500
    Richard S. Kollender                          544,918          258,437                  4,837               455,000
    Fredric Cohen, M.D.                           868,818          279,625                      0               553,000
    Stephen Long                                  714,405          206,343                      0               437,000
    Scott Wilhoit                                 626,000          227,250                      0               414,000

    Directors
    Garheng Kong, M.D.                            154,385               —                      —                 40,000
    Jeffrey W. Sherman, M.D.                      140,000               —                      —                 40,000
    Mårten Steen, M.D.                            154,918               —                      —                 40,000
    Hilde H. Steineger, M.D.                      154,918               —                      —                 40,000


        35.        Additionally, upon the consummation of the Proposed Transaction, the Definitive

Proxy Statement indicates that each outstanding Company Restricted Stock Units will be canceled and

converted into the right to receive certain consideration, not shared by Plaintiff, according to the

merger agreement as follows:




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                                                                                 Value of Shares
                                                                                  Deliverable in
                                                                                   Respect of
                                                                                    Unvested
                                                 Number of Restricted              Restricted
                                                 Stock Units Held (#)            Stock Units ($)
             Executive Officers
             John H. Johnson                                     770,166                 2,010,133
             Richard S. Kollender                                287,500                   750,375
             Fredric Cohen, M.D.                                 181,000                   472,410
             Stephen Long                                        143,500                   374,535
             Scott Wilhoit                                       113,000                   294,930

             Directors
             David Gill                                           40,000                   104,400
             Garheng Kong, M.D.                                   40,000                   104,400
             Jeffrey W. Sherman, M.D.                             40,000                   104,400
             Mårten Steen, M.D.                                   40,000                   104,400
             Hilde H. Steineger, M.D.                             40,000                   104,400


       36.      Furthermore, the Definitive Proxy Statements indicates that a Retention Bonus Pool

has been established for Company insiders, payable after the consummation of the Proposed

Transaction under certain circumstances as follows:
                  Name                                           Retention Bonus ($)
                  John H. Johnson                                                      500,000
                  Richard S. Kollender                                                 400,000
                  Fredric Cohen, M.D.                                                  300,000
                  Stephen Long                                                         300,000
                  Scott Wilhoit                                                        300,000


       37.      The Definitive Proxy Statements also indicates that several Company insiders are

entitled to severance agreements, payable after the consummation of the Proposed Transaction under

certain circumstances as follows:
                                                                             Estimated Value
                                                  Estimated                     of Benefit
             Name                                Severance ($)               Continuation ($)
             John H. Johnson                            1,964,296                           54,975
             Richard S. Kollender                       1,130,941                           39,327
             Fredric Cohen, M.D.                        1,027,702                           39,327
             Stephen Long                                 902,263                           39,327
             Scott Wilhoit                                897,363                           39,327


       38.      In addition, certain employment agreements with certain Strongbridge executives,
entitle such executives to severance packages should their employment be terminated under certain

circumstances. These ‘golden parachute’ packages are significant, and will grant each director or

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officer entitled to them millions of dollars, compensation not shared by Plaintiff and will be paid out

as follows:
                                                                       Perquisite/
    Name                           Cash ($)(1)      Equity ($)(2)    Benefits ($)(3)(4)(5)   Total ($)
    John H. Johnson                   2,464,296         2,712,935                        —     5,232,206
    Fredric Cohen, MD                 1,327,702           472,410                        —     1,839,439


        39.      The Registration Statement also fails to adequately disclose communications regarding

post-transaction employment during the negotiation of the underlying transaction must be disclosed

to stockholders. Communications regarding post-transaction employment during the negotiation of the

underlying transaction must be disclosed to stockholders. This information is necessary for Plaintiff

to understand potential conflicts of interest of management and the Board, as that information provides

illumination concerning motivations that would prevent fiduciaries from acting solely in the best

interests of the Company’s stockholders.

        40.      Thus, while the Proposed Transaction is not in the best interests of Strongbridge,

Plaintiff or Company stockholders, it will produce lucrative benefits for the Company’s officers and

directors.

The Materially Misleading and/or Incomplete Registration Statement

        41.      On July 29, 2021, the Strongbridge Board caused to be filed with the SEC a materially

misleading and incomplete Definitive Proxy Statement that, in violation their fiduciary duties, failed

to provide Plaintiff in his capacity as a Company stockholder with material information and/or

provides materially misleading information critical to the total mix of information available to Plaintiff

concerning the fairness of the Proposed Transaction.

        Omissions and/or Material Misrepresentations Concerning the Sales Process leading up to

        the Proposed Transaction

        42.      Specifically, the Definitive Proxy Statement fails to disclose material information

concerning the process conducted by the Company and the events leading up to the Proposed

Transaction. In particular, the Definitive Proxy Statement fails to disclose:



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              a. The specific powers of the special committee of the Strongbridge Board, including

                 if it had the power to veto proposed strategic alternatives;

              b. Whether the confidentiality agreements entered into by the Company with Xeris

                 differed from any other unnamed confidentiality agreement entered into between

                 the Company and potentially interested third parties, and if so, in what way;

              c. All specific conditions under which any standstill provision contained in any

                 entered confidentiality agreement entered into between the Company and

                 potentially interested third parties throughout the sales process, including Xeris,

                 would fall away;

              d. Specific reasoning as to why the Board agreed to the merger consideration without

                 the protections of a collar mechanism to keep the merger consideration within a

                 reasonable range;

              e. Specific reasoning as to why the Board agreed to a portion of the merger

                 consideration as a CVR with no guarantee of payment to the stockholders; and

              f. Communications regarding post-transaction employment during the negotiation of

                 the underlying transaction must be disclosed to stockholders. Communications

                 regarding post-transaction employment during the negotiation of the underlying

                 transaction must be disclosed to stockholders. This information is necessary for
                 stockholders to understand potential conflicts of interest of management and the

                 Board, as that information provides illumination concerning motivations that would

                 prevent fiduciaries from acting solely in the best interests of Plaintiff and Company

                 stockholders

       Omissions and/or Material Misrepresentations Concerning Strongbridge’s Financial

       Projections

       43.    The Definitive Proxy Statement fails to provide material information concerning
financial projections for Strongbridge provided by Strongbridge and Xeris management and relied



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upon by MTS and SVB Leerink in their analyses.               The Definitive Proxy Statement discloses

management-prepared financial projections for the Company which are materially misleading.

       44.     The Definitive Proxy Statement should have, but fails to provide, certain information

in the projections that Strongbridge and Xeris management provided to the Board, MTS, and SVB

Leerink. Courts have uniformly stated that “projections … are probably among the most highly-prized

disclosures by investors. Investors can come up with their own estimates of discount rates or [] market

multiples. What they cannot hope to do is replicate management’s inside view of the company’s

prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       45.     With regard to the Strongbridge Projections, including the Base Case, Low Case, and

High Case, prepared by the Strongbridge Management, the Definitive Proxy Statement fails to disclose

material line items for Unlevered Free Cash Flow, including all underlying necessary metrics and

assumptions, and the definition used.

       46.     With regard to the Xeris Adjusted Strongbridge Management Projections, including the

Base Case and Upside Case, prepared by the Xeris Management, the Definitive Proxy Statement fails

to disclose material line items for the following metrics:

               a. Standalone EBITDA, including all underlying necessary metrics and assumptions,

                   and the definition used; and

               b. Pro Forma EBITDA, including all underlying necessary metrics and assumptions,
                   and the definition used.

       47.     The Definitive Proxy Statement also fails to disclose a reconciliation of all non-GAAP

to GAAP metrics utilized in the projections.

       48.     This information is necessary to provide Plaintiff in his capacity as a Company

stockholder a complete and accurate picture of the sales process and its fairness. Without this

information, Plaintiff is not fully informed as to Defendants’ actions, including those that may have

been taken in bad faith, and cannot fairly assess the process.
       49.     Without accurate projection data presented in the Definitive Proxy Statement, Plaintiff

is unable to properly evaluate the Company’s true worth, the accuracy of MTS or SVB Leerink’s

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financial analyses, or make an informed decision whether to vote in favor of the Proposed Transaction.

As such, the Board has breached their fiduciary duties by failing to include such information in the

Definitive Proxy Statement.

       Omissions and/or Material Misrepresentations Concerning Xeris’s Financial Projections

       50.     The Definitive Proxy Statement fails to provide material information concerning

financial projections for Xeris provided by Xeris and Strongbridge management and relied upon by

MTS and SVB Leerink in their analyses. The Definitive Proxy Statement discloses management-

prepared financial projections for the Company which are materially misleading.

       51.     The Definitive Proxy Statement should have, but fails to provide, certain information

in the projections that Xeris and Strongbridge management provided to the Board, MTS, and SVB

Leerink. Courts have uniformly stated that “projections … are probably among the most highly-prized

disclosures by investors. Investors can come up with their own estimates of discount rates or [] market

multiples. What they cannot hope to do is replicate management’s inside view of the company’s

prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       52.     With regard to the Strongbridge Adjusted Xeris Management Projections, prepared by

Strongbridge Management, the Definitive Proxy Statement fails to disclose material line items for

Unlevered Free Cash Flow, including all underlying necessary metrics and assumptions, and the

definition used.
       53.     The Definitive Proxy Statement also fails to disclose a reconciliation of all non-GAAP

to GAAP metrics utilized in the projections.

       54.     This information is necessary to provide Plaintiff in his capacity as a Company

stockholder a complete and accurate picture of the sales process and its fairness. Without this

information, Plaintiff is not fully informed as to Defendants’ actions, including those that may have

been taken in bad faith, and cannot fairly assess the process.

       55.     Without accurate projection data presented in the Definitive Proxy Statement, Plaintiff
is unable to properly evaluate Xeris’s true worth (and therefore the true worth of the merger

consideration), the accuracy of MTS or SVB Leerink’s financial analyses, or make an informed

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decision whether to vote in favor of the Proposed Transaction. As such, the Board has breached their

fiduciary duties by failing to include such information in the Definitive Proxy Statement.

       Omissions and/or Material Misrepresentations Concerning The Pro Forma Financial

       Projections

       56.     The Definitive Proxy Statement fails to provide material information concerning

financial projections for the Pro Forma Entity provided by Strongbridge management and relied upon

by MTS and SVB Leerink in their analyses. The Definitive Proxy Statement discloses management-

prepared financial projections for the Company which are materially misleading.

       57.     The Definitive Proxy Statement should have, but fails to provide, certain information

in the projections that Strongbridge management provided to the Board, MTS, and SVB Leerink.

Courts have uniformly stated that “projections … are probably among the most highly-prized

disclosures by investors. Investors can come up with their own estimates of discount rates or [] market

multiples. What they cannot hope to do is replicate management’s inside view of the company’s

prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       58.     With regard to the Strongbridge Management Pro Forma Projections for the Base Case,

the Low Case, and the High Case, prepared by Strongbridge Management, the Definitive Proxy

Statement fails to disclose material line items for Unlevered Free Cash Flow, including all underlying

necessary metrics and assumptions, and the definition used.
       59.     The Definitive Proxy Statement also fails to disclose a reconciliation of all non-GAAP

to GAAP metrics utilized in the projections.

       60.     This information is necessary to provide Plaintiff in his capacity as a Company

stockholder a complete and accurate picture of the sales process and its fairness. Without this

information, Plaintiff is not fully informed as to Defendants’ actions, including those that may have

been taken in bad faith, and cannot fairly assess the process.

       61.     Without accurate projection data presented in the Definitive Proxy Statement, Plaintiff
is unable to properly evaluate the Pro Forma’s true projected worth, the accuracy of MTS or SVB

Leerink’s financial analyses, or make an informed decision whether to vote in favor of the Proposed

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Transaction. As such, the Board has breached their fiduciary duties by failing to include such

information in the Definitive Proxy Statement.
       Omissions and/or Material Misrepresentations Concerning the Financial Analyses by MTS

       62.     In the Definitive Proxy Statement, MTS describes its fairness opinion and the various

valuation analyses performed to render such opinion. However, the descriptions fail to include

necessary underlying data, support for conclusions, or the existence of, or basis for, underlying

assumptions. Without this information, one cannot replicate the analyses, confirm the valuations or

evaluate the fairness opinions.

       63.     With respect to the Strongbridge Discounted Cash Flow, the Definitive Proxy

Statement fails to disclose:

               a. The specific inputs and assumptions used to determine the applied ranges of

                   revenue achievements of 50% to 150%;

               b. The specific inputs and assumptions used to determine the applied weighted

                   average cost of capital of 12% to 14%;

               c. The specific inputs and assumptions used to determine the application of a zero

                   terminal value;

               d. The specific inputs and assumptions used to determine the taking into account the

                   effect of $92 million in net operating losses but not the cost of future capital raises;

                   and

               e. The specific discount rates utilized for each case, as well as the inputs and

                   assumptions used to determine them.

       64.     With respect to the Strongbridge Public Trading Comparable Companies Analysis, the

Definitive Proxy Statement fails to disclose the specific metrics for each comparable company.

       65.     With respect to the Strongbridge Precedent M&A Transaction Analysis, the Definitive
Proxy Statement fails to disclose:

               a. The specific metrics for each precedent transaction;

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               b. The date on which each precedent transaction closed; and

               c. The value of each precedent transaction.

       66.     With respect to the Xeris Discounted Cash Flow, the Definitive Proxy Statement fails

to disclose:

               a. The specific inputs and assumptions used to determine the applied ranges of

                   revenue achievements of 50% to 100%;

               b. The specific inputs and assumptions used to determine the applied weighted

                   average cost of capital of 10% to 12%;

               c. The specific inputs and assumptions used to determine the application of a zero

                   terminal value;

               d. The specific inputs and assumptions used to determine the taking into account the

                   effect of $54 million in net operating losses but not the cost of future capital raises;

                   and

               e. The specific discount rates utilized for each case, as well as the inputs and

                   assumptions used to determine them.

       67.     With respect to the Xeris Public Trading Comparable Companies Analysis, the

Definitive Proxy Statement fails to disclose the specific metrics for each comparable company.

       68.     These disclosures are critical for Plaintiff to be able to make an informed decision on
whether to vote in favor of the Proposed Transaction.

       69.     Without the omitted information identified above, Plaintiff is missing critical

information necessary to evaluate whether the proposed consideration truly maximizes his value and

serves his interest as a stockholder. Moreover, without the key financial information and related

disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s determination

that the Proposed Transaction is in his best interests as a public Strongbridge stockholder. As such,

the Board has breached their fiduciary duties by failing to include such information in the Definitive
Proxy Statement.



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       Omissions and/or Material Misrepresentations Concerning the Financial Analyses by SVB

       Leerink

       70.     In the Definitive Proxy Statement, SVB Leerink describes its fairness opinion and the

various valuation analyses performed to render such opinion. However, the descriptions fail to include

necessary underlying data, support for conclusions, or the existence of, or basis for, underlying

assumptions. Without this information, one cannot replicate the analyses, confirm the valuations or

evaluate the fairness opinions.

       71.     With respect to the Xeris Public Trading Company Analysis, the Definitive Proxy

Statement fails to disclose the specific inputs and assumptions used to determine the applied multiple

ranges of 2.5x to 3.6 and 1.5x to 2.4x to Xeris’ estimated 2022 and 2023 net revenue, respectively.

       72.     With respect to the Xeris Discounted Cash Flow, the Definitive Proxy Statement fails

to disclose:

               a. The unlevered, after-tax free cash flows utilized, and the inputs and assumptions

                   underlying them;

               b. The terminal values utilized, and the inputs and assumptions underlying them;

               c. The specific inputs and assumptions used to determine the applied perpetuity

                   growth rates of between 1.0% to 2.0%;

               d. The specific inputs and assumptions used to determine the applied discount rate
                   range of 10.5% to 14.5%;

               e. Xeris’s utilized weighted average cost of capital, including the inputs and

                   assumptions used to determine the same; and

               f. The estimated cash flow impact of Xeris’ available net operating loss

                   carryforwards.

       73.     With respect to the Strongbridge Public Trading Company Analysis, the Definitive

Proxy Statement fails to disclose the specific inputs and assumptions used to determine the applied
multiple ranges of 4.4x to 5.7x and 2.2x to 2.9x to Strongbridge’s estimated 2022 and 2023 net

revenue, respectively.

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       74.     With respect to the Strongbridge Sum-of-the-Parts Discounted Cash Flow, the

Definitive Proxy Statement fails to disclose:

               a. The terminal values utilized, and the inputs and assumptions underlying them;

               b. The specific inputs and assumptions used to determine the applied perpetuity

                   growth rates of between (20.0%) to 0.0%

               c. The specific inputs and assumptions used to determine the applied discount rate

                   range of 10.5% to 14.5%;

               d. Strongbridge’s utilized weighted average cost of capital, including the inputs and

                   assumptions used to determine the same; and

               e. The estimated cash flow impact of Strongbridge’s available net operating loss

                   carryforwards

       75.     These disclosures are critical for Plaintiff to be able to make an informed decision on

whether to vote in favor of the Proposed Transaction.

       76.     Without the omitted information identified above, Plaintiff is missing critical

information necessary to evaluate whether the proposed consideration truly maximizes his value and

serves his interest as a stockholder. Moreover, without the key financial information and related

disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s determination

that the Proposed Transaction is in his best interests as a public Strongbridge stockholder. As such,
the Board has breached their fiduciary duties by failing to include such information in the Definitive

Proxy Statement.

                                            FIRST COUNT

                          Violations of Section 14(a) of the Exchange Act

                                       (Against All Defendants)
       77.     Plaintiff repeats all previous allegations as if set forth in full herein.

       78.     Defendants have disseminated the Proxy Statement with the intention of soliciting
stockholders, including Plaintiff, to vote their shares in favor of the Proposed Transaction.



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       79.     Section 14(a) of the Exchange Act requires full and fair disclosure in connection with

the Proposed Transaction. Specifically, Section 14(a) provides that:

       It shall be unlawful for any person, by the use of the mails or by any means or

       instrumentality of interstate commerce or of any facility of a national securities

       exchange or otherwise, in contravention of such rules and regulations as the [SEC]

       may prescribe as necessary or appropriate in the public interest or for the protection

       of investors, to solicit or to permit the use of his name to solicit any proxy or consent

       or authorization in respect of any security (other than an exempted security)

       registered pursuant to section 78l of this title.

       80.     As such, SEC Rule 14a-9, 17 C.F.R. 240.14a-9, states the following:
       No solicitation subject to this regulation shall be made by means of any proxy

       statement, form of proxy, notice of meeting or other communication, written or

       oral, containing any statement which, at the time and in the light of the

       circumstances under which it is made, is false or misleading with respect to any

       material fact, or which omits to state any material fact necessary in order to make

       the statements therein not false or misleading or necessary to correct any statement

       in any earlier communication with respect to the solicitation of a proxy for the same

       meeting or subject matter which has become false or misleading.

       81.     The Proxy Statement was prepared in violation of Section 14(a) because it is materially

misleading in numerous respects and omits material facts, including those set forth above. Moreover,

in the exercise of reasonable care, Defendants knew or should have known that the Definitive Proxy

Statement is materially misleading and omits material facts that are necessary to render them non-

misleading.
       82.     The Individual Defendants had actual knowledge or should have known of the

misrepresentations and omissions of material facts set forth herein.


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       83.     The Individual Defendants were at least negligent in filing a Proxy Statement that was

materially misleading and/or omitted material facts necessary to make the Definitive Proxy Statement

not misleading.

       84.     The misrepresentations and omissions in the Proxy Statement are material to Plaintiff,

and Plaintiff will be deprived of his entitlement to decide whether to vote his shares in favor of the

Proposed Transaction on the basis of complete information if such misrepresentations and omissions

are not corrected prior to the stockholder vote regarding the Proposed Transaction.

                                          SECOND COUNT

                          Violations of Section 20(a) of the Exchange Act

                                 (Against all Individual Defendants)
       85.     Plaintiff repeats all previous allegations as if set forth in full herein.

       86.     The Individual Defendants were privy to non-public information concerning the

Company and its business and operations via access to internal corporate documents, conversations

and connections with other corporate officers and employees, attendance at management and Board

meetings and committees thereof and via reports and other information provided to them in connection

therewith. Because of their possession of such information, the Individual Defendants knew or should

have known that the Proxy Statement was materially misleading to Plaintiff in his capacity as a

Company stockholder.

       87.     The Individual Defendants were involved in drafting, producing, reviewing and/or

disseminating the materially false and misleading statements complained of herein. The Individual

Defendants were aware or should have been aware that materially false and misleading statements

were being issued by the Company in the Proxy Statement and nevertheless approved, ratified and/or

failed to correct those statements, in violation of federal securities laws. The Individual Defendants

were able to, and did, control the contents of the Proxy Statement. The Individual Defendants were


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provided with copies of, reviewed and approved, and/or signed the Proxy Statement before its issuance

and had the ability or opportunity to prevent its issuance or to cause it to be corrected.

       88.     The Individual Defendants also were able to, and did, directly or indirectly, control the

conduct of Strongbridge’s business, the information contained in its filings with the SEC, and its public

statements. Because of their positions and access to material non-public information available to them

but not the public, the Individual Defendants knew or should have known that the misrepresentations

specified herein had not been properly disclosed to and were being concealed from Plaintiff and

Company, and that the Proxy Statement was misleading. As a result, the Individual Defendants are

responsible for the accuracy of the Proxy Statement and are therefore responsible and liable for the

misrepresentations contained herein.

       89.     The Individual Defendants acted as controlling persons of Strongbridge within the

meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the

Individual Defendants had the power and authority to cause Strongbridge to engage in the wrongful

conduct complained of herein. The Individual Defendants controlled Strongbridge and all of its

employees. As alleged above, Strongbridge is a primary violator of Section 14 of the Exchange Act

and SEC Rule 14a-9. By reason of their conduct, the Individual Defendants are liable pursuant to
section 20(a) of the Exchange Act.

       WHEREFORE, Plaintiff demands injunctive relief, in his favor, and against the Defendants,

as follows:
       A.     Enjoining the Proposed Transaction;

       B.     In the event Defendants consummate the Proposed Transaction, rescinding it and setting

              it aside or awarding rescissory damages to Plaintiff;

       C.     Directing the Individual Defendants to exercise their fiduciary duties to commence a

              sale process that is reasonably designed to secure the best possible consideration for

              Strongbridge and obtain a transaction which is in the best interests of Strongbridge and

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